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IN THE CIRCUII` COURT FOR UNION COUNTY, TENNESSEE

Pamela Cellins, )
)
Plaintiff, )
) 2,5”§%
v. ) No.-B-¢B‘S”'
)
P! ogr‘essive Dir'eet I;isur'anee Company, )
)
Defendant.. l
SUMMONS

TO I`HE ~ABOVE NAMED DEFENDANT, PROGRESSIVE ])IRECT
INSURANCE COD{PANY:

You are hereby summoned and required to serve upon Dir'k A.. Daniei, Plaintiff’s
Attomey, whose address is P. 0.. Box 6, Rutledgc, Tennessee 37861, an answer to the
Complaint and Inter'r'ogatories herewith served upon you Within thirty (3{)) days after
service of this summens, Complaint, and Inter'rogator'ies upon you, exclusive of the day
ofserviee.. Ifyou fail to do so, judgment by default carl be taken against you for the

relief demanded in the Complaint.

Issued and tested this f 5 day Qf §,Q , ZU! `.

  

 

DEI’UTY CLERK

 

  
  
  
 

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'IO ]`HE DEFENDANT:

Tennessee law provides a four thousand ($4,000..00) dollar personal propertyr
exemption from execution or seizure to satisfy a judgment Ifa judgment should be
entered against you in this action and you wish to claim property as exempt, you must
file a written list, under oath, of the items you wish to claim as exempt With the clerk of
the cour t.. 'I`he list may be filed at any time and may be changed by you thereafter as
necessary; however, unless it is jiled'before the judgment becomes finai, it will not be
effective as to any execution or garnishment issued prior to the filing of the list.. Certain
items are automatically exempt by law and do not need to be listed; these include items
of necessary Wear'ing apparel for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family Bible, and
school books., Should anyr of these items be seized, you would have the right to recover
them. If you do not understand your exemption right or how to exercise it, you may

wish to seek the counsel of a lawyer..
SERVICE INFORMATION

TO THE PROCESS SERVER:

Defenclant, Progressive Direct Insurance Company, can be served through its
Registered Agent, C'I Corpor‘ation, at:

800 S.. Gay Street, Suite 2120
Knoxville, Tenncssee 37929

I have received this summons on the __/é_ day of HQL_, 2010.

I hereby certify and return that on the 2 day of §crm_u;, 2010,

I: ( V]"served this summons and a complexitith the Defendant, Progr'essive Direct
Insurance Company, in the following mauner~:

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( ) failed to serve this summons Within 30 days after its issuance because:

 

 

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